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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

  SAM HARGROVE, ANDRE HALL, and
  MARCO EUSEBIO, individually and on Civil Action No. 10-01138-PGS-
  behalf of all others similarly situated,        LHG

                    Plaintiffs,

  vs.
                                                  (HONORABLE PETER G.
  SLEEPY’S, LLC,                                       SHERIDAN)
                    Defendant.
                                                     FILED VIA ECF

  SLEEPY’S, LLC,

                    Cross-Claim Plaintiff,

  vs.

  I STEALTH, LLC, EUSEBIO’S
  TRUCKING CORP., and CURVA
  TRUCKING, LLC,

                    Cross-Claim
                    Defendants.

                                  PROPOSED ORDER
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        THIS MATTER having been opened to the Court by Littler Mendelson,

  P.C., attorneys for Defendant/Cross-Claim Plaintiff Sleepy’s LLC (“Sleepy’s”), on

  Notice to Anthony Marchetti, Esquire of Marchetti Law, P.C., attorney for

  Plaintiffs Sam Hargrove, Andre Hall, and Marco Eusebio (collectively,

  “Plaintiffs”), and the Court having considered the submissions in support thereof

  and in opposition to the requested relief,

        IT IS on this _______ day of _________________, 20____, ORDERED

  that Sleepy’s Motion for Summary Judgment is GRANTED and all counts of

  Plaintiff’s Complaint are hereby DISMISSED with prejudice.

                                               BY THE COURT:



                                               ____________________________
                                               Peter G. Sheridan, U.S.D.J.
